20-50805-rbk Doc#35 Filed 05/21/20 Entered 05/21/20 11:20:02 Main Document Pg 1 of 4




  The relief described hereinbelow is SO ORDERED.

  Signed May 21, 2020.


                                                        __________________________________
                                                                     Ronald B. King
                                                          Chief United States Bankruptcy Judge




                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

         IN RE:                        §                                CHAPTER 11
                                       §
         KRISJENN RANCH, LLC, KRISJENN §                                CASE NO. 20-50805
         RANCH, LLC, SERIES UVALDE     §
         RANCH, KRISJENN RANCH, LLC    §
         SERIES PIPELINE ROW           §
                                       §
              DEBTOR                   §


  ORDER ON DEBTOR’S MOTION FOR ORDER ESTABLISHING PROCEDURES FOR
     INTERIM COMPENSATION AND REIMBURSEMENT OF PROFESSIONALS

         Come on for consideration the Motion for Order Establishing Procedures for Interim

  Compensation and Reimbursement of Professionals (the “Motion”). The Court finds that: (i) it

  has jurisdiction over the matters raised in the Motion pursuant to 28 U.S.C. §§ 157, 1334; (ii) this

  is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (iii) the relief requested in the Motion is

  in the best interests of the Debtors, their estates, and creditors; (iv) proper and adequate notice of

  the Motion has been given, and that no other or further notice is necessary; (v) all objections to
20-50805-rbk Doc#35 Filed 05/21/20 Entered 05/21/20 11:20:02 Main Document Pg 2 of 4




  the Motion have been resolved by this Order or are overruled in their entirety; and (vi) upon the

  record herein, after due deliberation thereon, good and sufficient cause exists for the granting of

  the relief as set forth herein.

          IT IS, THEREFORE ORDERED that the Motion is hereby granted.

          IT IS FURTHER ORDERED that all professionals of the Estates, including any counsel

  or advisors to the Unsecured Creditors Committee (if appointed), seeking interim compensation

  must comply with the following procedures (the “Fee Procedures”):

          (a) On or before the tenth (10th) day of each month following the month for which
              compensation and reimbursement of expenses is sought, each Professional may
              submit by email a monthly statement (the “Monthly Statement”) that contains:
              (i) a description of the services rendered; (ii) the time spent; (iii) the hourly
              rates charged; and (iv) the name of the attorney, accountant, other professional
              or paraprofessional performing the work to Debtor, the undersigned attorneys,
              counsel for the Official Unsecured Creditor’s Committee, if any, and the Office
              of the United States Trustee (the “Notice Parties”).

          (b) Each such recipient shall have until the twenty-fifth (25th) day of the month to
              review the Monthly Statement. If no recipient objects, as provided in
              paragraph (c) below, the Debtor may pay and/or the Professional may draw
              down on its retainer, if any, a total of eighty percent (80%) of the amount of
              fees for services provided and one-hundred percent (100%) of the amount of
              expenses incurred and/or disbursements requested in that particular Monthly
              Statement. In the event Professionals draw down on their retainer, Debtor
              may, but is not obligated to, replenish such retainer during the course of the
              case.

          (c) If any of the Notice Parties determine that the compensation or reimbursement
              sought in a particular Monthly Statement is inappropriate or unreasonable, or
              that the numbers and calculations are incorrect, such Notice Party, as the case
              may be, shall, on or before the twenty-fifth (25th) day of the month, serve by
              email on: (i) the Professional whose statement is objected to; and (ii) except to
              the extent duplicative of the foregoing clause, the other Notice Parties, a Notice
              of Objection to Fee Statement (the “Notice of Objection”), setting forth the
              precise nature of the objection and the amount at issue. Thereafter, the
              objecting party and the Professional whose statement is objected to shall meet
              or confer and attempt to reach an agreement regarding the correct payment to
              be made. If an agreement cannot be reached, or if no meeting or conference
              takes place, the Professional whose Monthly Statement is objected to shall have
              the option of (i) filing the Notice of Objection together with a request for
20-50805-rbk Doc#35 Filed 05/21/20 Entered 05/21/20 11:20:02 Main Document Pg 3 of 4




             payment with this Court, or (ii) foregoing payment with respect to the disputed
             amount until the final fee application hearing, at which time this Court shall
             consider and dispose of the objection if payment of the disputed amount is
             requested. Debtor is authorized to pay promptly that percentage set forth
             above of any portion of the fees and disbursements requested (less the amount
             of any draw-down by the Professional from its retainer used to satisfy such
             amounts) that are not the subject of a Notice of Objection.

         (d) The first Monthly Statement may be submitted by each of the Professionals by,
             Wednesday, June 10, 2020, and shall cover the period from the commencement
             of the Case through May 31, 2020.

         (e) Neither the payment nor the failure to pay, in whole or in part, monthly interim
             compensation and reimbursement as provided herein shall bind any party in
             interest or the Court with respect to the allowance of applications for
             compensation and reimbursement of Professionals.

         (f) The service of a Notice of Objection shall not prejudice the objecting party’s
             right to object to any fee application made to the Court in accordance with the
             Bankruptcy Code on any ground, whether or not raised in the Notice of
             Objection. Furthermore, the decision by any party not to serve a Notice of
             Objection to a Monthly Statement shall not be a waiver of any kind or prejudice
             that party’s right to object to any fee application subsequently made to the Court
             in accordance with the Bankruptcy Code.

         IT IS FURTHER ORDERED that Debtor shall include all payments to Professionals on

  his monthly financial reports, detailed so as to state the amount paid to all Professionals.

         IT IS FURTHER ORDERED that any Professionals who received an advance payment

  or retainer prior to the Petition Date shall be entitled to maintain and retain any unapplied portion

  of such advance payment or retainer during the case to be applied to such Professional’s final

  application for the payment of fees and expenses herein.

         IT IS FURTHER ORDERED that this Court shall retain jurisdiction to hear and

  determine all matters arising from the implementation of this Order.

                                                ###
20-50805-rbk Doc#35 Filed 05/21/20 Entered 05/21/20 11:20:02 Main Document Pg 4 of 4




                                Submitted By:

                                MULLER SMEBERG, PLLC

                                By: /s/ Ronald J. Smeberg
                                        RONALD J. SMEBERG
                                        State Bar No. 24033967
                                        111 W. Sunset Rd.
                                        San Antonio, Texas 78209
                                        210-664-5000 (Tel)
                                        210-598-7357 (Fax)
                                        ron@muller-smeberg.com
                                        ATTORNEY FOR DEBTOR
